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 1                                UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3
      UNITED STATES OF AMERICA
 4
                            Plaintiff(s),
 5

 6
      VS.                                                       2:004-CR-20-LDG-PAL
 7
      HUMBERTO MENDOZA ET AL
 8

 9
                          Defendant(s),
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11
                             ORDER FOR DESTRUCTION OF EXHIBITS
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              The Clerk's Office having given notice to counsel as prescribed by LR 79-1 and LCR
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     55-1 of the Local Rules of Practice of this Court, and counsel having failed to make
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     arrangements to retrieve the exhibits in the allotted time, IT IS HEREBY ORDERED that the
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     Clerk is authorized to destroy the exhibits previously admitted in this matter.
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17   Dated:
                                                  U.S. DISTRICT JUDGE
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